         Case 22-1345, Document 178, 04/12/2023, 3498309, Page1 of 1




April 12, 2023                                              Orrick, Herrington & Sutcliffe LLP
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Re: Upsolve v. James, No. 22-1345 (2d Cir.)
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Dear Ms. O’Hagan Wolfe:

      I am writing to inform you of my withdrawal of appearance for
Amicus Curiae the NAACP in the above referenced case. The NAACP
will continue to be represented by all other additional counsel of record.




                                          Sincerely,
                                          /s/ Sarah H. Sloan
                                          Sarah H. Sloan
